                             UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF OHIO
                                     EASTERN DIVISION

In re:                                                   )    Chapter 11
                                                         )
Squirrels Research Labs LLC et al.,1                     )    Case No. 21-61491
                                                         )    (Request for Joint Administration Pending)
                          Debtors.                       )
                                                         )    Judge Russ Kendig


         MOTION OF DEBTORS AND DEBTORS-IN-POSSESSION FOR AN
     ORDER (A) SCHEDULING EXPEDITED HEARING ON CERTAIN FIRST DAY
    MOTIONS AND (B) APPROVING FORM AND MANNER OF NOTICE THEREOF

         The above-captioned debtors and debtors-in-possession (each a “Debtor” and collectively,

the “Debtors”), in the above-captioned Chapter 11 cases (the “Cases”), hereby move (the

“Motion”) for entry of an order: (i) scheduling an expedited hearing to consider certain first day

motions filed by the Debtors; and (ii) approving the form and manner of notice thereof. In support

of the Motion, the Debtors respectfully represent as follows:

                                     JURISDICTION AND VENUE

         1.     The Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334.

Consideration of the Motion is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

         2.     Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.

                                          RELIEF REQUESTED

         3.     By this Motion, the Debtors seek the entry of an order: (i) scheduling an expedited

hearing to consider certain first day motions filed by the Debtors; and (ii) approving the

form and manner of notice thereof.



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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
case no. 21-61492.




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                             PENDING REQUESTS FOR RELIEF

       4.     Contemporaneously with the commencement of these Cases on the Petition Date,

the Debtors filed, among other things, the following motions and applications (collectively, the

“First Day Motions”):

             Motion Or Application                              Nature of Relief Requested


 Motion of Debtors and Debtors-in-Possession         Order Granting Motion of Debtors and Debtors-
 For Joint Administration of Chapter 11 Cases        in-Possession For Joint Administration of
 Pursuant To Bankruptcy Rule 1015(b)                 Chapter 11 Cases Pursuant To Bankruptcy Rule
                                                     1015(b)

 Motion of Debtors for Interim and Final             Interim Order: (I) Authorizing Secured
 Orders: (I) Authorizing the Midwest Data            Postpetition Financing on a Superpriority Basis
 Company LLC to Obtain Debtor in Possession          Pursuant to Section 364 of the Bankruptcy
 Financing; (II) Modifying the Automatic Stay;       Code; (II) Modifying the Automatic Stay; and
 (III) Approving DIP Loan and Security               (III) Granting Related Relief
 Agreement with Instantiation LLC; (IV)
 Setting Final Hearing; and (V) Granting
 Related Relief

 Motion of Debtors and Debtors-In-Possession         Order: (A) Prohibiting Utilities From Altering,
 For Interim and Final Orders: (A) Prohibiting       Refusing or Discontinuing Services to, or
 Utilities From Altering, Refusing or                Discriminating Against, the Debtors on
 Discontinuing Services to, or Discriminating        Account of Prepetition Invoices; (B)
 Against, the Debtors on Account of Prepetition      Determining That the Utilities are Adequately
 Invoices; (B) Determining That the Utilities        Assured of Future Payment; and (C)
 are Adequately Assured of Future Payment;           Establishing Procedures For Determining
 and (C) Establishing Procedures For                 Requests For Additional Assurance
 Determining Requests For Additional
 Assurance


       5.     As described in detail in each of the First Day Motions, the relief requested in the

First Day Motions is essential to permit the Debtors to transition smoothly into Chapter 11. In

addition, the relief requested in the First Day Motions will greatly assist in the administration of

the Cases and the preservation of the Debtors’ value, and will help to stabilize the Debtors’

operations. Any delays in the consideration of the First Day Motions would hinder the Debtors’

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ability to transition into Chapter 11 smoothly and preserve and maximize value for all stakeholders

in these Cases.

       6.         Accordingly, the Debtors believe that the First Day Motions involve matters that

require an expedited, emergency hearing and respectfully request that the Court schedule a hearing

on all of the First Day Motions to be conducted on the Petition Date, or as soon as possible

thereafter. To that end, the Debtors understand that the Court has reserved 2:00 p.m. (EST) on,

December 1, 2021, for such a hearing.

                                              NOTICE

       7.         The Debtors propose to serve a notice of the filing of the First Day Motions and

the expedited hearing thereon, substantially in the form attached hereto as Exhibit A and

incorporated herein by reference (the “First Day Notice”), via email, facsimile, overnight delivery

or other express mail service as soon as practicable after the entry of an order approving the First

Day Notice or as otherwise instructed by the Court on the following parties (collectively, the “First

Day Notice Parties”): (a) the Office of the United States Trustee for the Northern District of Ohio;

(b) Avnet, Squirrels Research Labs LLC’s secured lender; (c) each of the Debtor’s top twenty

unsecured creditors; (d) Instantiation LLC; and (e) the Taxing Authorities. Because the list of

other parties potentially affected by the First Day Motions is necessarily large, serving notice of

all First Day Motions on all such parties is impracticable and is a wasteful use of the Debtors’

limited resources. Therefore, the Debtors request that service of notice on the First Day Notice

Parties in the form and manner described in this paragraph be deemed adequate and appropriate

under the circumstances and in full compliance with the applicable provisions of the Bankruptcy




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Code, the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and the Local

Bankruptcy Rules.

                                      NO PRIOR REQUEST

          8.     No prior request for the relief sought in this Motion has been made to this or any

other Court.

                                          CONCLUSION

          WHEREFORE, the Debtors respectfully request that the Court (a) enter an order

substantially in the form annexed hereto as Exhibit B, granting the relief requested herein; and (b)

grant such other and further relief as the Court may deem proper.


Dated: November 23, 2021                       Respectfully submitted,


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